AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                                                                          2111 JUL - 7 AH JO: Sit
                                                          District of Vermont            [3
                 United States of America                           )
                                V.                                  )
                                                                    )      Case No. 2:23-mj-77
                         Bradley Saldi                              )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 15 & 16 and June 12 & 14, 2023 in the county of                            Rutland            in the
                       District of _ _ _V_e_r_m_o_n_t___ , the defendant(s) violated:

             Code Section                                                       Offense Description

21 U.S.C. § 841 (a)                             Knowingly and intentionally distributed cocaine base, a Schedule II controlled
                                                substance. (All dates)

21 U.S.C. § 841 (a)                             Knowingly and intentionally distributed fentanyl, a Schedule II controlled
                                                substance. (May 15, 2023)



          This criminal complaint is based on these facts:


See Attached Affidavit




          ~ Continued on the attached sheet.

                                                                                Attested to by reliable electronic means (Facetime)
                                                                                               Complainant's signature

                                                                                          Det. Jesse Dambrackas, VSP
                                                                                                Printed name and title

Subscribed and sworn to in accordance with the requirements of Fed. R. Crim. P. 4.1


Date:             07/07/2023
                                                                                                  Judge 's signature

City and state:                          Burlington, VT                            Hon. Kevin J. Doyle, U.S. Magistrate Judge
                                                                                                Printed name and title
